Case 3:05-cr-03007-MWB-CJW   Document 212   Filed 01/22/08   Page 1 of 6
Case 3:05-cr-03007-MWB-CJW   Document 212   Filed 01/22/08   Page 2 of 6
Case 3:05-cr-03007-MWB-CJW   Document 212   Filed 01/22/08   Page 3 of 6
Case 3:05-cr-03007-MWB-CJW   Document 212   Filed 01/22/08   Page 4 of 6
Case 3:05-cr-03007-MWB-CJW   Document 212   Filed 01/22/08   Page 5 of 6
Case 3:05-cr-03007-MWB-CJW   Document 212   Filed 01/22/08   Page 6 of 6
